Case 23-12825-MBK                 Doc 500      Filed 05/12/23 Entered 05/12/23 20:40:50                      Desc Main
                                              Document     Page 1 of 5



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     PROPOSED ATTORNEYS FOR DEBTOR
     In re:                                                          Chapter 11
                                                                     Case No.: 23-12825 (MBK)
     LTL MANAGEMENT LLC, 1
                                                                     Judge: Michael B. Kaplan
                                 Debtor.                             Hearing Date and Time:
                                                                     May 16, 2023 at 11:30 a.m.

                 DEBTOR’S OMNIBUS REPLY IN SUPPORT OF
           ITS MOTION FOR AN ORDER (I) SCHEDULING HEARING ON
     APPROVAL OF DISCLOSURE STATEMENT; (II) ESTABLISHING DISCLOSURE
     STATEMENT OBJECTION DEADLINE; AND (III) GRANTING RELATED RELIEF

                      LTL Management LLC, the debtor in the above-captioned case (the “Debtor”),

 submits this reply in support of its Motion for an Order (I) Scheduling Hearing on Disclosure

 Statement; (II) Establishing Disclosure Statement Objection Deadline; and (III) Granting


 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.




 NAI-1536816041
Case 23-12825-MBK           Doc 500      Filed 05/12/23 Entered 05/12/23 20:40:50                        Desc Main
                                        Document     Page 2 of 5



 Related Relief [Dkt. 240] (the “Motion”) 2 and in response to objections to the Motion

 (collectively, the “Objections”) filed by the following parties (collectively, the “Objecting

 Parties”): (a) the Official Committee of Talc Claimants (the “TCC”) [Dkt. 413] (“TCC Obj.”);

 (b) Arnold & Itkin LLP (“Arnold & Itkin”) [Dkt. 443] (“Arnold & Itkin Obj.”); (c) the United

 States Trustee (the “U.S. Trustee”) [Dkt. 448]; and (d) Maune Raichle Hartley French & Mudd,

 LLC [Dkt. 453].

                                                    REPLY

         The Motion seeks limited relief with respect to scheduling matters. In particular, it seeks

 to:

         (i)      schedule a Disclosure Statement Hearing;

         (ii)     establish a deadline for objections to the adequacy of the Disclosure Statement;

                  and

         (iii)    establish a deadline for objections to a motion for approval of solicitation and

                  voting procedures with respect to the Plan (the “Solicitation Motion”).

 The Motion also seeks to set reply deadlines with respect to (ii) and (iii).

         These scheduling requests have engendered close to 40 pages of objections, most of

 which do not address the relief sought in the Motion. See, e.g., TCC Obj. (spending less than

 one page in a 14 page objection addressing the relief sought in the Motion). The Objections are

 riddled with inaccurate allegations about the record in this case and extraneous and misguided

 arguments irrelevant to the relief requested in the Motion. The Debtor reserves all rights to

 address these false statements either at the trial (the “Dismissal Trial”) on the now eight pending




 2
         Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.

                                                       -2-
 NAI-1536816041
Case 23-12825-MBK         Doc 500     Filed 05/12/23 Entered 05/12/23 20:40:50              Desc Main
                                     Document     Page 3 of 5



 motions to dismiss the chapter 11 case (the “Motions to Dismiss”), the Disclosure Statement

 Hearing, or the Confirmation Hearing.

         By the Motion, the Debtor simply seeks to organize the process leading to the Disclosure

 Statement Hearing and coordinate the 14-day objection period for the Solicitation Motion

 (extending it by 7 days) with the 28 day objection period for the adequacy of the Disclosure

 Statement (shortening it by 7 days), so that the Solicitation Motion and the hearing on the

 adequacy of the Disclosure Statement are heard at the same time and at the same hearing.

 Contrary to the hyperbole of the Objecting Parties that the relief sought constitutes a race to

 confirmation, the schedule proposed by the Debtor provides for five weeks from the Debtor’s

 filings to the Disclosure Statement Hearing and a full three weeks for parties to object to one

 document — the Disclosure Statement — and one motion, the Solicitation Motion.

         The Objecting Parties have demonstrated that they can generate extraordinary amounts of

 filings in a limited period of time. In the short period of this Chapter 11 Case, the TCC, among

 other things has: (i) filed a motion to dismiss this Chapter 11 Case; (ii) petitioned for a writ of

 mandamus; (iii) intensely litigated many significant issues, including, the Debtor’s request for a

 preliminary injunction, certification of direct appeal of the Court’s preliminary injunction order,

 and appointment of the future claimants representative, and, most recently, (iv) filed a motion for

 derivative standing together with a 110-page complaint. It has shown that it is more than capable

 of commenting on the Disclosure Statement and filing any objections to the Solicitation Motion

 in three weeks’ time. Arnold & Itkin’s assertion that it requires almost seven weeks to review

 the Disclosure Statement is not reasonable. Arnold & Itkin Obj. ¶ 3.

         What the Objecting Parties actually seek is to delay and disrupt any progress on a Plan in

 this Chapter 11 Case and to ensure that the Disclosure Statement Hearing does not occur prior to



                                                  -3-
 NAI-1536816041
Case 23-12825-MBK            Doc 500      Filed 05/12/23 Entered 05/12/23 20:40:50                     Desc Main
                                         Document     Page 4 of 5



 a decision by the Court on the Motions to Dismiss. 3 But the Debtor would respectfully submit

 that the Objecting Parties have it backwards. Delaying the Disclosure Statement Hearing

 prevents the Court from being fully informed on plan-related matters prior to making its ruling

 on the Motions to Dismiss. Considerations related to the Plan and the plan confirmation process

 may be relevant to the Court in evaluating whether the circumstances of the case warrant

 denying (or granting) dismissal, as well as extending (or denying to further extend) the

 preliminary injunction, which currently is set to expire on June 15, 2023.

         Further, delaying the Disclosure Statement Hearing is not in the best interest of the

 Debtor’s estate, including the talc claimants. The Debtor is taking reasonable steps to progress

 this Chapter 11 Case toward a consensual resolution consistent with the terms of the plan support

 agreements that garnered the support of counsel for thousands of talc claimants.

         Unlike the Objecting Parties, the Debtor is not seeking to play “beat the clock.” Rather,

 it requests, consistent with this Court’s rulings, that the process towards confirmation of the Plan

 proceed on a parallel track with the Dismissal Trial.

                                               CONCLUSION

         For all of the reasons set forth above, the Debtor respectfully requests that the Court enter

 an order (i) granting the relief sought in the Motion, (ii) overruling the Objections and

 (iii) granting such further relief to the Debtor as the Court may deem proper.




 3
         Related thereto, contemporaneously with this Reply, the Debtor is also filing an objection to the TCC’s
         cross-motion [Dkt. 414] to selectively suspend proceedings in this Chapter 11 Case, including any plan-
         related proceedings. That objection is incorporated herein by reference.

                                                        -4-
 NAI-1536816041
Case 23-12825-MBK       Doc 500    Filed 05/12/23 Entered 05/12/23 20:40:50        Desc Main
                                  Document     Page 5 of 5



  Dated: May 12, 2023                         WOLLMUTH MAHER & DEUTSCH LLP

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                                            -5-
 NAI-1536816041
